EXHIBIT 4
             Case: 19-4074         Document: 39      Filed: 02/01/2021      Page: 1




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                 Filed: February 01, 2021




Ms. Sandy Opacich
Northern District of Ohio at Cleveland
801 W. Superior Avenue
Suite 100 Carl B. Stokes U.S. Courthouse
Cleveland, OH 44113-1830

                     Re: Case No. 19-4074/19-4075, Andrea Drake, et al v. DePuy Orthopaedics, Inc., et al
                         Originating Case No. : 1:13-dp-20140

Dear Ms. Opacich,

  Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Zachary Love
                                                 For Jill Colyer
                                                 Case Manager

cc: Robert Dolan Akers
    Marla Broaddus
    Mr. Andrew L. Davick
    Mr. Derek Irwin Stewart
    Michael Truesdale

Enclosure
                Case: 19-4074        Document: 39      Filed: 02/01/2021      Page: 2




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 19-4074/19-4075
                                           ________________

                                                                      Filed: February 01, 2021

ANDREA K. DRAKE; WILLIAM S. DRAKE

                Plaintiffs - Appellees

v.

STEVEN M. JOHNSON, doing business as The Johnson Law Firm

                Appellant

and

DEPUY ORTHOPAEDICS, INC.; DEPUY, INC.; DEPUY INTERNATIONAL LTD.;
JOHNSON & JOHNSON; JOHNSON & JOHNSON SERVICE, INC.; JOHNSON &
JOHNSON INTERNATIONAL

                Defendants



                                            MANDATE

     Pursuant to the court's disposition that was filed 12/15/2020 the mandate for this case hereby

issues today.



COSTS: None
